AUG/02/201 1 A&8el2:B0-Fil-02179-CJB-DPC Document BAL NA Filed 12/20/12 Page 1 of 6 99?

Malcolm M. Dienes, LLC

701 Metairie Rd.
Suite 2a301
Metairie, LA 70005
(504) 568-9288

Jeffrey F. Speer

Doucet Speer

617 St John Street
Lafayette, LA 70502

HENRY MICHAEL NUNMAKER, tll V BP

Invoice Na, 26442

Date 12/13/2010

Client No. 90897

DATE SERVICE STAFF HOURS

09/14/2010 Due Diligence Theriot 1.00
Review documents supplied

09/14/2010 Raview Documents Supplied Mendez 0.50
Begin review of file

09/14/2010 Data Gathering Bondio 0.50
create and type engagement letter

09/17/2010 Review Documents Supplied Mendez 1.50
Review documents

09/20/2010 Expert Witness Report Bergeron 1.00
Prepare 1120S analysis

09/20/2010 Review Documents Supplied Mendez 1.25
Review and prep file

09/20/2010 Data Gathering Jdaseph 0.75
Scanned supporting documentation into file

09/21/2010 Expert Witness Report Bergeron 7.75
1120s analysis

09/21/2010 Review Documents Supplied Mendez 0.75
Discuss scheduling of tax returns

09/22/2010 Expert Witnass Report Bergeron 6.75
1120s analysis

09/23/2010 = Communication with Attorneys Theriot 1.00
AUG/02/201 1 @BB)2:30-PM-02179-CIJB-DPC Document AK f,4 Filed 12/20/12 Page 2 off6 993

. DATE SERVICE STAFF HOURS

Communicate with attorney on case

09/23/2010 Expert Witness Report Bergeron 7.25
1120 analysis

09/24/2010 Expert Witnass Report Bergeron 2.50
1120 Analysis

09/24/2010 Expert Witness Report Mendez 0.50

, Consult with staff on proper method of scheduling

financials

09/27/2010 Expert Witness Report Bergeron 7.76
1120 analysts

09/28/2010 Expert Witness Report Bergeron 6.75
1120 analysis

09/28/2010 Review Documents Supplied Mendez 0.25
Discuss progress of scheduling

09/30/2010 Expen Witness Report Mendez 0.25
Discuss case with staff

10/01/2010 Expert Witness Report Mendez 0.50
Discuss research to be completed

10/04/2010 Review Documents Supplied Mendez 0.50
Discuss case with staff

10/04/2010 Review Documents Supplied Stoltz 1.50
Reviewed tax returns, sales tax returns, and month
tinancials.

10/04/2010 Data Gathering Stoltz 1.50

Researched information on the BP claims process and
what needs to be submitted. Research methodologies
that are used to calculate losses for claims.

10/07/2010 Due Diligence Theriot 2,00
Review documents supplied and conference with
attorney on case

10/07/2010 Expert Witness Report Stoltz 2.75
Met to discuss the case. Industry research.

10/07/2010 Review Documents Supplied Mendez 2.00
Review and discussion of case

10/11/2010 Expert Witness Report Bergeron 1.00
Analysis by Tax Return and other changes

10/11/2010 Data Gathering Stoltz 1.50
DATE

10/11/2010

10/11/2010

10/26/2010

10/26/2010

10/29/2010

11/05/2010

11/05/2010

11/05/2010

11/05/2010

11/09/2010

11/09/2010

11/10/2010

11/11/2010

11/12/2010

41/16/2010

SERVICE STAFF

Industry research and search for article to explain the
effect that the BP oil spill had on boat sales in the gulf
coast area.

Data Gathering Stoltz
Worked on spreadsheets with Katie.
Date Gathering Stoltz

Preparing the Gulf Coast Claim Facility Business Claim
Form and quasticns to provide to client in order to finish
the form.

Review Documents Supplied Mendez
Maeting with owners of Nunmaker
Business Interruption Claims Stoltz

Met with Mike Jr. and Senier to discuss the case and to
gather information that we need from them in order to
prepare the report.

Due Diligence Theriot
Review documents supplied

Expert Witness Report Mandez
Discuss calculation options

Expert Witness Report Theriot

Review documents and develop report strategy

Business Interruption Claims Stoltz
Meeting to discuss the case.
Business Interruption Claims Stoltz

Worked on updating Gulf Coast Claim Facility Claim
Form, Preparing for meeting with John and James.

Expert Witness Report Mendez
Discuss loss approach with staff
Business Interruption Claims Stoltz

Working on report and spreadsheet for BP Claim. Mei
with John to discuss ideas for the loss.

Business Interruption Claims Stoltz

Worked on Calculation of loss spreadsheets and report.

Business Interruption Claims Stoliz
Working on calculating loss and preparing report.

Business Interruption Claims Stoltz
Working on Report and BF Claim.
Expert Witness Report Mendez

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HOURS

0.50

2.00

3/5

3.75

7.00

0.75

1.50

0.50

1,00

0.60

2.00

4.00

1.25

7.90

0.75
AUG/02/201 1 PRBQ2:30-myp-02179-CJB-DPC Document faylyy4 Filed 12/20/12 Page 4 off6 95

DATE SERVICE STAFF HOURS

Meeting with staff to discuss report preparation

11/15/2010 Business Interruption Claims Stoliz 1.50:
Working on report.

11/15/2010 = Business Interruption Claims Stoliz 1.00
Met with James to discuss report and Claim form.
Worked on preparing report.

11/16/2010 Business Interruption Claims Stoltz 6.25
Finished preparing report and BP claim.

11/17/2010 Expert Witness Report Mendez 0.75
Discuss completion of report

11/17/2010 Expert Witness Report Theriot 2.00
Meeting to go aver final report

11/17/2010 Business Interruption Claims Stoltz 6.25
Met with James and John to go over report. Finished
preparing report and sent clients attorney for review.

11/17/2010 Courier-Secretarial Eastin 1.50
Proofread expert report, meet w/J Stoltz on changes,
email report to client.

11/18/2010 Expert Witness Report Mendez 1.25
Obtain additional info needed to complete report

11/19/2010 Business Interruption Claims Stoltz 2.00
Spoke with Jeff and Gypsy about report and claim.
Finished report with all signatures and bindings. Sent
report via Fedex to client.

11/22/2010 Business Interruption Claims Stoltz 1.00
Made attorney prepared corrections to the report.
Total For Services $ 16,869.76
11/19/2010 Mail/Federal Express
FedEx report
Total For Expenses 19.25
Current (nvoice Amount 16,889.00
Prior Balance 0.00
Total Amount Due $___ 16,889.00
0-30 31-60 1-90 91-120 Over 120 Balance
18,889.00 0.00 0.00 0.00 0.00 16,889.00

*Please return copy of invoice with payment* *Payment due upon recelpt*
AUG/02/201 1 PRES? 40-pyd-02179-CJB-DPC Document@¥1f74 Filed 12/20/12 Page 5 ofp6qqg

Malcolm M. Dienes, LLC

701 Metairie Rd.
Sulle 22301
Metairie, LA 70005
(504) 588-9288
Jefiray F. Speer
Doucet Speer
677 St. John Street
Lafayette, LA 70502
HENRY MICHAEL NUNMAKER, tif V 8P
Invoice No, 26734
Date 01212011
Client No. 90897
DATE SERVICE STAFF HOURS

12/28/2010 Due Diligence Theriot 1.25

Raview letter from BP and research claim on the web
site. Also contact Mr. Speer with comments

12/28/2010 Data Gathering Stoltz 1.25
Worked with Joshua Stoltz regarding payment received,
Met with J. Theriot and Joshua Stoltz regarding issues.

12/28/2010 Business Interruption Claims Stoltz 0.75
Discussed letter from BP and gulfcoast claim form
explaining payment.

01/11/2011 Expert Witness Report Mendez 0.50
Meeting with Josh Stoltz on tie into calculations

01/11/2011 Business Interruption Claims _ Stoltz 1.00
BP loss calculation research.

01/11/2011 Business Interruption Claims Theriot 1.00
Review BP claim on the internet and communicate with
Jeff Speers

01/12/2011 Business Interruption Claims Stoltz 0.75

Spoke with Client Rep. about calculation of loss. Sent
email to attorney Jeff Speer.

01/13/2011 Business Interruption Claims Theriot 1.00
Review calculation made by BP and communicate to
attorney on next step
Current Invoice Amount $ 1,686.25
AUG/02/201 1At8Be02:30-i-02179-CJB-DPC Document B@1 RA Filed 12/20/12 Page 6 off6 997

DATE SERVICE STAFF HOURS

Prior Balance 16,889.00
Total Amount Dua $18,575.25

0-30 31-60 61 - DO 91 - 120 Over 120 Balance
1,686.25 16,889.00 0.00 6.00 0.00 18,575.25

*Please return copy of invoice with payment® *Payment due upon receipt*

